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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

 v.                                                 Case No. 23-Crim.-82 (EK)

 CARLOS WATSON AND OZY MEDIA INC., DEFENDANTS’ JOINT MOTION TO
                                   DISQUALIFY THE US ATTORNEY’S
                    Defendants.    OFFICE AND MOTION TO DISMISS
                                   THE INDICTMENT FOR SIXTH
                                   AMENDMENT VIOLATIONS,
                                   PROSECUTORIAL MISCONDUCT,
                                   AND OUTRAGEOUS
                                   GOVERNMENT CONDUCT; OR IN
                                   THE ALTERNATIVE TO SUPPRESS
                                   ILLEGALLY OBTAINED EVIDENCE

                                        INTRODUCTION

       Mr. Watson and OZY media recently received a production from the government that
indicates that the government has brazenly violated the protections of Mr. Watson’s and OZY
Media’s attorney-client privileged relationship and both their work product doctrines. The
government pierced the attorney-client privilege by improperly accessing and using hundreds, if
not thousands, of documents that were prepared by at least three agents of defense counsel, all of
whom engaged in work protected by the attorney client privilege and/or work product doctrine.
The government repeatedly interviewed those defense counsel agents to extract detailed
information about the services they provided to defense counsel. The government then proceeded
to rampage through protected material and conversation, leveraging this ill-gotten knowledge of
Defendants’ core defensive strategies, theories, and tactics to shore up the government’s own
witnesses. The government engaged in this conduct despite being repeatedly put on notice that it
was trespassing into protected territory. Dismissing the indictment is the appropriate remedy for
the government’s shocking breach of the attorney-client privilege. In the alternative, the entire
prosecutorial team at the US Attorney’s Office for the Eastern District of New York should be
disqualified from the case. At a minimum, the government must be precluded from using this ill-
gotten information against Defendants at trial.
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        Start up experts have clearly and consistently laid out that revenue is not material to early
stage investors. Despite that widely accepted reality, the government has pursued a case against
Carlos Watson and OZY focused on alleged material representations of OZY’s revenue. While
Watson and OZY do not accept that revenue is a key factor for early-stage investors, the
defendants prepared a robust defense to this charge with the help of top experts hired by counsel
and, thus, whose work is protected under the attorney client privilege and work product doctrine.
Despite being repeatedly made aware of the clear attorney client privilege, the government
ransacked Mr. Watson’s defense work product, trampling on his attorney client privilege to
interview his attorney’s consultants and review more than 1000 pages of protected documents.
That this happened so casually and blatantly that it shocks the conscience and demands that this
case be immediately dismissed with prejudice.



THE GOVERNMENT REPEATEDLY BREACHED THE SACROSANCT ATTORNEY-
                                          CLIENT PRIVILEGE
        There are at least two groups of individuals who provided work protected by the attorney-
client privilege and work product doctrine: a group comprising David Slayton (“Slayton”) and his
colleagues from Berkeley Research Group (“the BRG Group”); and a group comprising Frank
Bland (“Bland”) and Joe Clemente (“Clemente”) of Waxman & Bland CPAs (“W&B”), and their
associates (collectively, “the Waxman & Bland Group”).1
        The privileged relationship between Defendants’ counsel and the BRG Group began in
October 6, 2021, when Sarah Borders (“Borders”), counsel for OZY Media at King & Spalding,
signed a letter engaging BRG for the purpose of “provid[ing] financial advisory and consulting
services in connection with Law Firm’s representation of Client,” with services to include, among
other things “the review . . . of financial reporting.” Borders’ cover note indicates that the signing
of this letter was specifically arranged to ensure that the attorney client privilege attached to BRG’s
work: “Carlos and Sarah, I’ve attached a revised engagement letter which now has BRG being
retained through King & Spalding.”




1
 Defense counsel’s review of the discovery provided by the government is ongoing and reserves the right to bring
additional violations of the attorney-client privilege by the government to the court’s attention.
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       The privileged relationship between Defendants’ counsel and the Waxman & Bland Group
dates back to January 14, 2022, when Jonathan Streeter (“Streeter”) of Dechert LLP entered into
a “Privileged and Confidential — Prepared at Request of Counsel” engagement letter with W&B
“to assist Dechert in its provision of legal advice to Carlos Watson and OZY Media.” Watson,
Streeter, and Bland all signed this letter. W&B is the business entity through which Bland and
Clemente operated. W&B’s engagement continued with subsequent defense counsel. Both Bland
and Clemente were and are agents of defense counsel whose work is protected by the attorney-
client privilege and work product doctrine.
       Slayton (beginning in October 2021), Bland (beginning in January 2022), and Clemente
(beginning in August 2022) participated in numerous meetings with defense counsel (King and
Spalding, Dechert, and subsequent counsel). They produced attorney-client protected work
product for defense counsel and consistently marked this work product with designations such as
“Privileged and Confidential,” and “Attorney-Client Privilege,” and “Attorney Work Product.”
       In the instant criminal prosecution, previous and current counsel for Watson and OZY
repeatedly identified Bland, Clemente, and Slayton as covered by attorney-client privilege and
therefore off-limits to prosecutors, with notifications on or around March 29, 2023 and again in
the summer of 2023.
       According to the 3500 FB-1, 3500 FB-3, the EDNY taint team, the FBI and the SEC
received further confirmation in July 2023 from Bland that he was off-limits. Among other things,
Bland produced a clear and unequivocal protected engagement letter and laid out that he and
Clemente were both covered.
       Notwithstanding these notices, law enforcement in the instant case breached the protected
attorney-client relationship and exploited these initial forays to develop new leads and shore-up
the government’s theretofore weak case. Taint team AUSAs and the principal AUSAs and FBI
agents participated in this breach and harvested fruit from this poisonous tree, including gaining
insight to core defenses theories for Watson and OZY and using that insight to identify additional
counter witnesses and prepare their own witnesses to counter Watson and OZY’s defense.
       The following is a non-exhaustive chronology of the government’s repeated invasions of
Defendants’ attorney-client privileged and otherwise protected communications Defendants’
defense strategy and case theory:
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  1. 3500-DS-1 (Slayton Interview): On October 14, 2022, the USAO, SEC. and FBI invaded
     Watson and OZY’s attorney client privilege when they interviewed Slayton. The 302
     recounts Slayton stating that “OZY’s legal counsel, King and Spalding, contacted BRG to
     assist with OZY.” _________ notes of the interview are more direct: “OZY law firm
     engaged BRG to help.” The government had a copy of the engagement letter between BRG
     and King and Spalding and asked Slayton questions about its language.


  2. 3500-JC-2 (Clemente Interview #1): On March 17, 2023, FBI Agents John Williams and
     Gurdeep Singh interviewed Clemente at his residence in Warren, New Jersey. The 302
     memo does not contain any reference to the fact that Clemente’s work was covered by
     attorney-client privilege and protected from disclosure. Clemente “started consulting for
     OZY MEDIA (OZY) in August 2022” and his focus was “on budgeting, driving sales, and
     cash management. . . . WATSON needed assistance getting OZY’s financials organized.”
     In this conversation, Clemente keyed in the government to the analytical distinction
     between gross revenue and net revenue. Clemente also said he participated in calls or
     meetings with several OZY investors: Tom Franco, Michael Dublier, Joon Oh, Sean
     Gudderson, Robert Quarta, Michael Moe, and Kosmo Kalliarekos. Subsequent to this
     interview, the government interviewed some of these OZY investors, referencing to them
     Clemente’s name or showing them documents that Clemente provided: 3500-MM-3
     (Michael Moe); 3500-TF-1 (Tom Franco).


  3. 3500-JC-3, 3500-JC-3-A, 3500-JC-4, etc. (Email Communications with Clemente)
     After the interview, in March and April 2023, Clemente transmitted documents protected
     by the attorney-client privilege to the government.


  4. 3500-CL-2 (Lightfoot Interview #2): On April 6, 2023, the government interviewed
     Claire Lightfoot for a second time. The government made use of Clemente’s information
     in this interview with Lightfoot. Among other things, the government delved into the
     Bland/Waxman revenue analysis and Watson’s revenue defense, barter revenue, and Rao’s
     failure to keep NetSuite properly updated. Again, their breach of the attorney client
     privilege with Bland and Clemente led to additional and prejudicial interviews with
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     Lightfoot who had already done an untainted interview with prosecutors a year earlier.
     Notably, in that first Lightfoot interview in March 28, 2022 interview, none of these
     privileged topics came up.


  5. EDNYOZY003416200 (Clemente Privileged Documents): On June 21, 2023, the
     government received more than 800 pages of privileged and protected documents from
     Clemente.


  6. 3500-JC-5 (Clemente Interview #2) : On June 29, 2023, AUSAs Stern, Siegel, and
     Kassner, and FBI Agent Singh interviewed Clemente at the US Attorney’s Office in
     Brooklyn.
        a. In this conversation, the government ignored clear indications that Clemente and
            Bland’s work was protected by the attorney-client privilege. For example, the
            government asked detailed questions of Clemente regarding an Operational Profit
            & Loss statement bearing the legend “DRAFT - ATTORNEY CLIENT
            PRIVILEGE”:




        b. Notwithstanding their knowledge that Clemente and Bland were agents of
            defendants’ counsel, the government elicited from Clemente extensive details on
            the scope of his and Bland’s privileged work for the Defendants. For example, as
            excerpted in the 302:
                   The project was to convert OZY’s net revenue to gross revenue. CLEMENTE
                   recommended FRANK BLAND, whom he knew previously, for this project.
                   BLAND went through OZY’s records to show net and gross revenue on their profit
                   and loss statement. It was common in media industry to have ‘gross revenue’ and
                   then discount the rates. Gross revenue represented the company’s original rate
                   while ‘net revenue’ represented the actual cash the company generated. The
                   difference between the two was the ‘discount’ provided through negotiations . . . .

                   WATSON wanted to replace ‘gross revenue’ with ‘net revenue’ on OZY’s profit
                   and loss statement. BLAND was hired for this project. To do this, OZY’s profit
                   and loss statements were exported from OZY’s accounting software, NetSuite,
                   with assistance from CLAIRE LIGHTFOOT. BLAND used OZY’s net revenue
                   (as the starting point and came up with gross revenue[)]. CLEMENTE recalled the
                   top sheet showed actuals for 2019, 2020, 2021, a pro-form[a] 2022, and a budgeted
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                          2023. CLEMENTE had access to a shared drive that was owned by BLAND. . . .
                          CLEMENTE did not have access to the documents owned by OZY that were
                          housed in the cloud on Google Drive nor did he have access to NetSuite. . . .

                          Some numbers were re-classed which may have caused the difference in revenue
                          listed in tab 14 (000577) and 15 (000601). Some of the sources used to prepare
                          this document were tab 14, information from LIGHTFOOT and M WEST.
                          CLEMENTE did not know what barter revenue represented. . . .

                          OZY’s EBITDA which stood for Earnings Before Interest, Taxes, Depreciation,
                          and Amortization, was generally increasing. EBITDA was not a Generally
                          Accepted Accounting Principles item as it did not consider non-cash transactions.
                          The difference between EBITDA amounts in tab 14 and 15 could have been caused
                          by previous year invoices being recorded in the current year.


    7. 3500-FB-1 (Bland Interview #2): On July 28, 2023, law enforcement agents interviewed
        Frank Bland.2 The agents were on notice that Bland’s work for Watson and OZY was
        covered by the attorney-client privilege because Bland told them “There was a letter from
        the attorney, [he] was engaged by an attorney . . . Dechert LLP[.] They wanted everything
        to be priviledged [sic]”:




        Nevertheless, the agents proceeded to pump Bland for details regarding the nature of his
        work for OZY and Watson, learning that Bland was “brought [in to] clean up ledger.”
        Bland told them he “[w]ent through 2019, 2020, 2021 revenue[,] compared rate cards that
        Ozy had out there and came up w one average.” Bland told the agents he was “[n]ever
        asked to do anything that FB was uncomfortable with,” “nothing raised red flags,” and




2
  The government has not produced a 302 reflecting this conversation; we know about it only because FBI Special
Agent Gurdeep Singh made handwritten notes summarizing the conversation. The initials “GS” and “JA”
(presumably FBI Special Agent Jordan Avery) appear on the margin of the notes.
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         there was “[n]o dishonest conduct.” The agents learned from Bland that Claire Lightfoot
         and Mercedes West “provided Net Suite report” which revealed “nothing abnormal.”


      8. 3500-FB-2 and 3500-FB-3 (Email Communications with Bland): Between July 28 and
         August 3, 2023, AUSA Siegel and FBI Agent Singh sought and secured protected attorney
         client privileged work products and coordinated a call with Bland — all despite having
         received written confirmation of the attorney- client privilege relationship. Siegel and
         others then sought to set up a Zoom call in early August 2023. The record (3500-FB-4)
         purposely covers up whether the August 2023 meeting happened and what happened
         during that meeting – clear recognition from the government of a major and sanctionable
         Constitutional violation.


      9. 3500-FB-5 (Bland Interview #3): On October 27, 2023, FBI Agent Todd Kaneshiro, and
         AUSAs Buford and Dugan interviewed Bland by telephone. Bland was crystal clear that
         the engagement letter was drafted by counsel for Watson and OZY: “BLAND did not draft
         the engagement letter . . . The letter read like it was written from BLAND to STREETER,
         but BLAND recalled it was drafted by Streeter . . . . The Ozy Media – Waxman Engagement
         Letter was draft[ed] by DECHERT” (italics in original).


      10. 3500-SR-9 (Samir Rao Interview): On April 8, 2024, the government interviewed Samir
         Rao at the US Attorney’s Office and asked Rao detailed questions about topics that it had
         probed with Bland and Clemente, including barter revenue /in-kind revenue and Generally
         Accepted Accounting Principles.




                                           ARGUMENT
 I.      Dismissal of the Indictment is Required Due to Prosecutors and Law Enforcement
         Engaging in Outrageous Government Conduct and Prosecutorial Misconduct Which
         Violated Carlos Watson’s Constitutional Rights to Due Process and to Effective
         Assistance of Counsel
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“Narrowly defined, riddled with exceptions, and subject to continuing criticism, the rule affording
confidentiality to communications between attorney and client endures as the oldest rule of
privilege known to the common law. Even in its debilitated form, however, it provides essential
support for the constitutional right to the assistance of counsel. Without the attorney-client
privilege, that right and many other rights belonging to those accused of crime would in large part
be rendered meaningless. Designed to encourage full and frank communication between attorneys
and their clients, this rule of confidentiality recognizes that sound legal advice or advocacy serves
public ends and that such advice or advocacy depends upon the lawyer being fully informed by the
client. It also recognizes that a lawyer's assistance can only be safely and readily availed of when
free from the consequences or the apprehension of disclosure”. United States v Schwimmer, 892
F.2d 237 (2d Cir 1989).
       The work-product doctrine covers documents or materials prepared by an attorney or an
attorney's agent in preparation for litigation and protects such documents or materials from
discovery, and it “applies to criminal as well as civil litigation; while the doctrine most frequently
asserted is a bar to discovery in civil litigation, its role in assuring the proper functioning of the
criminal justice system is even more vital, since the interests of society and the accused in
obtaining a fair and accurate resolution of the question of guilt or innocence demand that adequate
safeguards assure the thorough preparation and presentation of each side of the case.” United States
v. Nobles, 422 U.S. 225, 238-39 (1975) (emphasis added). This doctrine is essential to the attorney-
client relationship because attorneys must “work with a certain degree of privacy, free from
unnecessary intrusion by opposing parties and their counsel.” Hickman v. Taylor, 329 U.S. 495,
510 (1947).
       Together, “the attorney-client privilege and the work-product doctrine jointly support the
Sixth Amendment's guarantee of effective assistance of counsel.” In re Search Warrant Issued June
13, 2019, 942 F.3d 159, 174 (4th Cir. 2019).
       The conduct of the United States Attorney’s Office of the Eastern District of New York is
not only reprehensible but it also warrants the dismissal of the indictment due to outrageous
violations of due process of law.
       A district court may dismiss an indictment either "on the ground of outrageous government
conduct if the conduct amounts to a due process violation," United States v. Chapman, 524 F.3d
1073, 1084 (9th Cir. 2008), or under its supervisory power if warranted by the government's
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pervasive and repetitive misconduct. Cf United States v. Hogan, 712 F.2d 757, 761-62 (2d Cir.
1983).
         The Sixth Amendment provides that "In all criminal prosecutions, the accused shall enjoy
the right . . . to have the assistance of counsel for his defense." U.S. Const. amend. VI.
"[G]overnment interference in the relationship between attorney and defendant may violate the
latter's right to effective assistance of counsel." United States v. Ginsberg, 758 F.2d 823, 833 (2d
Cir. 1985) (citing Massiah v. United States, 377 U.S. 201, 84 S. Ct. 1199, 12 L. Ed. 2d 246 (1964)).
Thus, "[w]hen conduct of a Government agent touches upon the relationship between a criminal
defendant and his attorney, such conduct exposes the Government to the risk of a fatal intrusion
and must be accordingly carefully scrutinized." United States v. Gartner, 518 F.2d 633, 637 (2d
Cir. 1975). To establish a Sixth Amendment violation based on Government interference with the
attorney-client relationship, a defendant must demonstrate "'that privileged information [was]
passed to the government or that the government . . . intentionally invaded the attorney client
relationship, and resulting prejudice.'" Ginsberg, 758 F.2d at 833 (quoting United States v. Dien,
609 F.2d 1038, 1043 (2d Cir. 1979)); see also United States v. Schwimmer, 924 F.2d 443, 447 (2d
Cir. 1991). Absent a Government intrusion into the attorney-client relationship that is "manifestly
and avowedly corrupt," "a defendant must ordinarily demonstrate prejudice stemming from the
Government's conduct." United States v. Hoey, No. 15 CR. 229 (PAE), 2016 U.S. Dist. LEXIS
7261, 2016 WL 270871, at *6 (S.D.N.Y. Jan. 21, 2016); see also United States v. Sattar, No. 02
Cr. 395 (JGK), 2002 U.S. Dist. LEXIS 14798, 2002 WL 1836755, at *6 (S.D.N.Y. Aug. 12, 2002)
("Where the intrusion [*65] upon an attorney-client communication is unintentional or justified
there can be no violation of the Sixth Amendment without a showing that the intercepted
communication was somehow used against the defendant to the defendant's prejudice.
         In this case, the Government’s intrusion was not by any means unintentional or justified.
On two different occasions (March 2023 and again in July 2023), the defense clearly
communicated to prosecutors that Slayton, Bland, Clemente were off limits due to attorney client
privilege protections and that all their work product was protected by attorney-client privilege.
Defense counsel has repeatedly emphasized that such privileges were not waived and never would
be. Nonetheless, the Government still secured these privileged documents and even went further
to continue their investigation using that information they got ahold of in this corrupt manner,
willfully invading the attorney-client relationship. On top of the intrusion being manifestly and
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avowedly corrupt, prejudice stemmed from it, since the Government’s subsequent conduct reflects
they adjusted their theory of the case to deal with the information they gained regarding one of
defendants’ core strategies for defending this case, namely the specific arguments, evidence, and
methodss that the defendants will use to rebut the government’s contention that defendants
supplied false financials to prospective investors.
       The United States District Court for the Eastern District of New York recognized that
“…the Supreme Court has observed, that there could be "a situation in which the conduct of law
enforcement agents is so outrageous that due process principles would absolutely bar the
government from invoking judicial processes to obtain a conviction." United States v. Russell, 411
U.S. 423, 431-32, 93 S. Ct. 1637, 1643, 36 L. Ed. 2d 366 (1973). The Second Circuit has explained
further that "[t]o establish a due process violation on [the grounds of excessive government
involvement in a crime], a defendant must show that the government's conduct is 'so outrageous
that common notions of fairness and decency would be offended were judicial processes invoked
to obtain a conviction.'" United States v. Al Kassar, 660 F.3d 108, 121 (2d Cir. 2011)” United
States v Schreiber, 2017 US Dist LEXIS 213951 [EDNY Dec. 28, 2017, No. 15-cr-377 (ENV).
       The limits imposed on government conduct by the Due Process Clause cannot be
“defin[ed], and thereby confin[ed]…” Rochin v. California, 342 U.S. 165, 173 (1952). The conduct
in which the US Attorney’s office incurred shocks the conscience. Although courts “tend to speak
of that which ‘shocks the conscience’ largely in the context of excessive force [and entrapment]
claims . . . it can apply to other areas of government activity as well” O’Connor v. Pierson, 426
F.3d 187, 203 (2d Cir. 2005) (internal quotation marks omitted). Thus, cases of outrageous
government conduct are not limited to physical coercion or excessive government involvement in
criminal enterprise.
       As previously stated, the conduct of the United States Attorney’s Office in the Eastern
District of New York not only meets but exceeds this standard. Their actions amount to outrageous
government conduct that is so extreme that it “shocks the conscience”, in violation of Carlos
Watson’s and OZY’s rights to due process and to the effective assistance of counsel. The
prosecution interviewed as witnesses Frank Bland and Joe Clemente, who had been hired by Mr.
Watson’s previous counsel to review private information based on their specific instructions and
questions, accessing the defense’s state of mind and its strategy. The interviews they conducted
allowed them access to privileged information and the core theory the defense elucidated in regards
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to OZY Media’s revenue, the most central element of the case. As if the prosecution’s access to
the defense’s private information and communications was not egregious enough, they also
engaged in further conduct to tailor their strategy to that of the defense, diluting its effectiveness
by illegal and unethical means.
         For example, in light of the new information they acquired, the prosecution called Samir
Rao for a ninth day of interviews (SR-9) in which they asked him about the new numbers they got
from Bland and Clemente.3 They inquired about concepts that were initially brought to the case
through the discovery of the aforementioned report, like “border revenue”, “book revenue” and
“recognized revenue”. The interview conducted by the Government is clearly derivative from the
information of Bland and Clemente’s work product and subsequent interviews.
         The Third Circuit Court of Appeals in United States v Levy, 577 F2d 200 (3d Cir 1978)
reversed the conviction and dismissed the indictment against defendant because their right to
representation by independent counsel was not protected. The Court found there was a knowing
invasion of the attorney-client relationship and confidential information was disclosed to the
government. The Court held that: “Where there is a knowing invasion of the attorney-client
relationship and where confidential information is disclosed to the government, we think that there
are overwhelming considerations militating against a standard which tests the sixth amendment
violation by weighing how prejudicial to the defense the disclosure is (…) But it is highly unlikely
that a court can, in such a hearing, arrive at a certain conclusion as to how the government's
knowledge of any part of the defense strategy might benefit the government in its further
investigation of the case, in the subtle process of pretrial discussion with potential witnesses, in
the selection of jurors, or in the dynamics of trial itself.
         The Sixth Amendment ensures that defendants have the right to a fair trial, including the
right to effective assistance of counsel and the right to present a defense. Allowing the government
to obtain a defendant's defense strategy would inexcusably undermine these rights by impeding
the ability of defense attorneys to provide zealous and confidential representation, leading to an




3
  This would have been at least the ninth day on which the government interviewed Rao: SR-1 (interview of
December 1 and 2, 2021), SR-2 (interview of February 22 and 23, 2022), SR-5 (interview of August 3, 2022), SR-6
(interview of February 13, 2023), SR-8 (interview of February 21, 2023), and SR-9 (interview of April 8, 2024). The
government “intentionally omitted” SR-4, so it is not clear to the defense if that designation pertains to yet another
interview.
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imbalance in the adversarial process, while undermining the principles of fairness and due process
and eroding trust in the legal system’s integrity and impartiality.
       If a defendant meets the "very heavy burden" of showing "outrageous governmental
misconduct," the remedy is dismissal of the indictment. See United States v. Walters, 910 F.3d 11,
27 (2d Cir. 2018)
       As demonstrated above, prosecutors and law enforcement engaged in prosecutorial
misconduct and outrageous government conduct which “shocks the conscience” in violation of
Mr. Watson’s fundamental rights to due process and to effective assistance of counsel, and
therefore, the indictment should be dismissed.


       II. Alternatively, Disqualification of the Eastern District of New York U.S. Attorney’s
Office is Required.
       By knowingly, intentionally, and willfully interviewing Slayton, Bland, and Clemente and
accessing their work product, the prosecution engaged in substantial misconduct requiring
disqualification of the entire United States Attorney’s Office (USAO).
       An USAO should be disqualified only “when special circumstances demonstrate the
interest of justice could only be advanced by this drastic remedy." United States v. Basciano, 763
F. Supp. 2d 303, 314 (E.D.N.Y. 2011).
       Stating that contending that there is air of impropriety is not enough to disqualify an entire
SAO, the United States District Court for the Southern District of New York held that: “the
extreme remedy of disqualification of an entire US Attorney's Office requires, at minimum, some
showing of bad faith, misconduct, or actual prejudice on the part of the prosecutor” United States
v Rodriguez Ramirez, 2004 US Dist LEXIS 1318 (SDNY Jan. 29, 2004).
       In this case, the government’s undue intentional breach into attorney-client privileged
work-product gave the SAO substantial insight into the defense’s available information and
strategy, tainting the whole office through this prosecutorial misconduct. This taint became clear
when, for example, the Government interviewed Samir Rao at the US Attorney’s Office for the
ninth time on April 8, 2024, and asked him detailed questions about topics that it had probed with
Bland and Clemente, including barter revenue/in-kind revenue and Generally Accepted
Accounting Principles. The same happened on April 6, 2023, when the Government interviewed
Claire Lightfoot and delved into the Bland/Waxman revenue analysis and Watson’s revenue
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defense, barter revenue and Rao’s failure to keep NetSuite properly updated; all privileged topics
that did not come up in the first interview in March 28, 2022.
       Allowing the USAO to prosecute a case subsequent to impermissibly accessing the
defense's case theory is not only legally improper due to its infringement upon the defendant's
Sixth Amendment rights, but also represents an unwarranted incentive for prosecutorial
misconduct aimed at securing a favorable outcome, thereby posing a risk to the credibility and
legitimacy of the judicial system as a whole.


       III. In Addition to Disqualification of the Eastern District of New York USAO, This
Court Should Suppress all work product by David Slayton, Frank Bland, and Joe Clemente,
all interviews to them and others in relation to their work product, and any other discovery
that relates in any way to any information or production they were involved in, regardless
of the Source.
       As discussed above, conduct by law enforcement and the U.S. Attorney’s Office amounts
to outrageous government conduct in violation of Mr. Watson’s rights to due process and to
effective assistance of counsel.
       While the previously sought remedies are more apt for countering the prosecution's actions,
given that access to the defense's strategy will not be disclosed during discovery but rather utilized
as a tactical advantage, as a proper remedy for this breach the Court should at least issue a ruling
“prohibit[ing] the opposing side from using the document at trial”. United States v Stewart, 294 F
Supp 2d 490 [SDNY 2003]). See also United States v. Morrison, 449 U.S. 361, 364, 101 S. Ct.
665, 66 L. Ed. 2d 564 (1981).
       Suppression of all of all documents, interviews and work products described in section
“Procedural history” of this document is warranted. As shown above, the SAO engaged in
prosecutorial misconduct that was substantial misconduct at best, and outrageous government
conduct at worst.
       Due to the improper conduct the Government engaged in, to protect the defendant’s right
to counsel under the Sixth Amendment and due process clause, the exclusion of the following and
evidence is requested:
1. All documents, interviews and work products described in section “Procedural history” of this
    document.
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2. All of Slayton, Bland, and Clemente’s work products.
3. All interviews conducted with Frank Bland, Joe Clemente, and any other interview or
   conversation that deals with the information they provided or those that deal with anything
   which stems directly or indirectly from their confidential information, including but not
   limited to the following:
          a. The documents protected by the attorney-client privilege forwarded to the
              government by Clemente after the first interview on March 17, 2023 (3500-JC-3,
              3500-JC-3-A, 3500-JC-4, etc.)
          b. Claire Lightfoot’s interview conducted by the Government on April 6, 2023, in
              which they delved into the Bland/Waxman revenue analysis and Watson’s revenue
              defense, barter revenue and Rao’s failure to keep NetSuite properly updated. Again,
              their total desecration of the attorney client privilege with Bland and Clemente led
              to additional and injurious interviews with Lightfoot who had already done an
              appropriate interview with prosecutors a year earlier.       Notably, in that first
              Lightfoot interview in March 28, 2022 interview, none of these privileged topics
              came up.
          c. Clemente’s interview conducted by AUSAs Stern, Siegel, and Kassner, and FBI
              Agent Singh Gurdeep on June 29 in which he provided extensive details on the
              scope of his and Bland’s work for the Defendants.
          d. Bland’s interview conducted by law enforcement on July 28, 2023, for which the
              government has failed to produce a 302 (Note that the only reason the defense
              knows about it is because FBI Special Agent Gurdeep Singh made handwritten
              notes summarizing the conversation. Note that the notes themselves state: “There
              was a letter from the attorney, [he] was engaged by an attorney, but paid by OZY.
              Dechert LLP. They wanted everything to be priviledged [sic].”).
          e. Bland’s interview on October 27, 2023 by FBI Agent Todd Kaneshiro, and AUSAs
              Buford and Dugan interviewed by telephone.
          f. Samir Rao’s interview on April 8, 2024 regarding topics first mentioned in Bland
              and Clemente’s work product, such as barter revenue/ in-kind revenue and
              Generally Accepted Accounting Principles.
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Suppression is appropriate and proportionate in this case to remedy the clear violation of Mr.
Watson’s constitutional rights and to serve as a deterrent.


                                                      Respectfully submitted,


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